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Counsel to Defendant Pierce Robertson

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :   Chapter 11
                                                               :
VOYAGER DIGITAL HOLDINGS, INC., et al., :                          Case No. 22-10943 (MEW)
                                                               :
                                                               :   (Jointly Administered)
                  Debtors.                                     :
---------------------------------------------------------------x
                                                               :
VOYAGER DIGITAL HOLDINGS, INC., et al., :
                                                               :
                                    Plaintiffs,                :   Adv. Proc. No. 22-01138 (MEW)
                                                               :
PIERCE ROBERTSON, et al.,                                      :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------x

                                      CERTIFICATE OF SERVICE




DOCS_LA:345483.1
Adv. Proc. 22-01138-mew


  STATE OF CALIFORNIA                   )
                                        )
  CITY OF SAN FRANCISCO                 )

        I, Patricia Jeffries, am employed in the city and county of San Francisco, State of

California. I am over the age of 18 and not a party to the within action; my business address is

One Market Plaza, Spear Tower, 40th Floor, San Francisco, CA 94120-1020.

        On September 21, 2022, I caused to be served the below documents via First Class

Mail on the parties identified on the list attached hereto as Exhibit A:

           Objection of Defendants to Debtors’ Motion to Extend the Automatic Stay
            or, in the Alternative, for Injunctive Relief Enjoining Prosecution of
            Certain Pending Litigation [Adv. Dkt. No. 18].

        I declare under penalty of perjury, under the laws of the State of California and the

United States of America that the foregoing is true and correct.

        Executed on October 3, 2022, at San Francisco, California.

                                                      /s/ Patricia Jeffries
                                                      Patricia Jeffries




                                                 2
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        Adv. Proc. 22-01138-mew



                                                      EXHIBIT A
                                        (Service by U.S. First Class Mail)

Voyager Digital Holdings, Inc.          Kirkland & Ellis LLP                   McDermott Will & Emery LLP
Attention: Stephen Ehrlich and David    Attention: Joshua A. Sussberg;         Attention: Darren Azman; Joseph B.
Brosgol                                 Christopher Marcus;                    Evans;
33 Irving Place, Suite 3060             Christine A. Okike; Allyson B. Smith   Grayson Williams; Gregg Steinman
New York, NY 10003                      601 Lexington Avenue                   One Vanderbilt Avenue
                                        New York, NY 10022                     New York, NY 10017-3852
Office of the United States Trustee     Chambers of the Honorable Michael E.
for the Southern District of New York   Wiles
U.S. Federal Office Building            United States Bankruptcy Court
Attention: Richard Morrissey; Mark      Southern District of New York
Bruh                                    One Bowling Green
201 Varick Street, Room 1006            New York, NY 10004
New York, NY 10014




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